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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff,                               )
                                          )
                v.                        )    No. 2:09 CR 43
                                          )
 STANTON CEPHUS, et al.,                  )
                                          )
 Defendants.                              )
                           OPINION AND ORDER

         This matter is before the Court on the: (1) Petition to Unseal

 Documents and Information Re: Warrant and Portions of Grand Jury

 Proceedings, filed by Defendant, Jovan Stewart, on February 11,

 2013 (DE #441); and (2) Objection to - And Motion for Overall

 Denial of Second Motion for Extension of Time By The United States

 of America, filed by Defendant, Jovan Stewart, on March 21, 2013

 (DE #451).      For the reasons set forth below, the motion for

 documents and information (DE #441) is DENIED and the motion for

 denial of extension of time (DE #451) is DENIED AS MOOT.



         BACKGROUND

         Defendant, Jovan Stewart, has asked the Court for a copy of,

 and an order unsealing the following information related to this

 case:

              (1) any and all Search and Arrest Warrants
              ever issued; (2) Any and all Informations,
              Statements, Affidavits, Complaints and any
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             other evidence supporting and causeing [sic.]
             any Search and Arrest Warrant ever issued; (3)
             Any and all verbatim transcripts, notations or
             etc., of the telephonic communications or of
             testimony[s] taken, written or recorded of any
             person, Agent or officer at any hearing or
             etc., conducted for consideration or otherwise
             resulting in the decision to issue any Search
             or Arrest Warrants regarding the Defendant,
             Jovan Stewart . . . and Co-Defendants Justin
             Phillip Cephus . . . Stanton Landry Cephus . .
             . Haneef Jackson-Bey . . . and Delbert
             Patterson . . . which insinuates Defendant
             Stewart having committed and/or conspiring
             with said Co-Defendants to commit any crimes
             against the United States and its Criminal
             Codes. . . [and] (1) Portions of the Grand
             Jury Proceedings relating to any evidence
             presented to the Grand Jury on, around or
             about March 5th, 2009 and July 2nd, 2009 . . .
             or any other form of evidence of any kind
             which resulted in an indictment against the
             Defendant, Jovan Stewart and all above named
             Co-Defendants . . . .

       (DE #441, pp. 1-2.)        Stewart states he needs this information

 because he “intends to submit [a] § 2255 motion to this court.”

 Id. at 3.      After receiving two extensions of time, the Government

 timely filed a response in opposition on March 22, 2013 (DE #452).

 One day before that, Stewart filed an objection to the Government’s

 motion for extension of time, and included in that motion arguments

 in support of his petition for documents.                  (DE #451.)         The Court

 has considered the arguments set forth by Stewart in his objection

 (DE #451); but to the extent he objected to the Government’s

 receipt   of    an   extension    of   time    to   file    its    response,       that

 objection is DENIED AS MOOT.

       The Court notes that Stewart previously filed a motion to

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 compel (DE #423), requesting his appellate court appointed attorney

 to provide him with his case file and transcripts.                 The attorney

 responded that he sent Stewart copies of transcripts and court

 records, and after discussing with him that many of the documents

 were not pertinent to him, Stewart withdrew his request for the

 remainder of the court documents.              (DE ##429, 430.)



       DISCUSSION

       Defendants    do   not   have        a    constitutional     right     to    a

 complimentary copy of any document in their court files.                          See

 United States v. Groce, 838 F. Supp. 411, 413-14 (E.D. Wis. 1993).

 Before providing copies free of charge, a district court may

 require the requestor to show: (1) that he has exhausted all other

 means of access to his files (i.e., through his trial and appellate

 counsel), (2) that he is financially unable to secure access to his

 court files (i.e., through a showing similar to that required in 28

 U.S.C. § 1915(a)(2), which includes a certified copy of the

 prisoner’s trust fund account for the previous six-month period

 prior to the filing of his motion), and (3) that the documents

 requested are necessary for the preparation of some specific non-

 frivolous court action. See Id., 28 U.S.C. § 753(f); United States

 ex rel. Davidson v. Wilkinson, 618 F.2d 1215, 1218-19 (7th Cir.

 1980); Rush v. United States, 559 F.2d 455, 459 (7th Cir. 1977);

 United States v. Zawada, No. 3:06-CR-120, 2009 WL 1863982, at *2


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 (N.D. Ind. June 25, 2009); United States v. Reed, No. 93-cr-40050-

 JPG, 2010 WL 2990096, at *1 (S.D. Ill. July 27, 2010).

        Stewart’s general request for all information, statements,

 affidavits, any other information supporting any search and arrest

 warrant ever issued, and any form of evidence resulting in the

 indictment against him or any of his co-defendants must be denied

 as too vague for the Court to determine what copies he is seeking.

 Stewart has no section 2255 motion pending before this Court, and

 the Court is unable to certify that he is pursuing a matter that is

 not frivolous or that the requested information or documents are

 needed to decide the issue or issues presented by such a matter.

 See United States v. Horvath, 157 F.3d 131, 132 (2d Cir. 1998)

 (motion for free transcript not ripe until filing of § 2255

 challenge to sentence).       Other courts concur that the defendant

 must    first   have   a   section     2255     application     pending      before

 requesting documents from the Court.             See, e.g., United States v.

 Connors, 904 F.2d 535, 536 (9th Cir. 1990); Walker v. United

 States, 424 F.2d 278, 278-79 (5th Cir. 1970); United States v.

 Lewis, No. 94-3158, 1994 WL 563442, at *1-*2 (10th Cir. Oct. 14,

 1994).

        Regarding Stewart’s request for grand jury transcripts for the

 evidence presented on March 5, 2009, and July 2, 2009, he has not

 satisfied the rigorous standard to obtain such material that is

 ordinarily kept secret.       Our judicial system has recognized that


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 the proper functioning of grand jury proceedings depends upon their

 absolute secrecy.      See Douglas Oil Co. Of California v. Petrol

 Stops Northwest, 441 U.S. 211, 218 (1979).                    Federal Rule of

 Criminal Procedure Rule 6(e) codifies the rule that grand jury

 proceedings should be kept secret.              See Fed. R. Crim. P. 6(e).

 “[P]arties seeking disclosure of grand jury transcripts must show

 that the material they seek is needed to avoid a possible injustice

 in another judicial proceeding, that the need for disclosure is

 greater than the need for continued secrecy, and that their request

 is structured to cover only material so needed.”               Matter of Grand

 Jury Proceedings, Special Sept., 1986, 942 F.2d 1195, 1198 (7th

 Cir. 1991) (citing Douglas Oil Co., 441 U.S. at 222).                 Grand jury

 secrecy may not be broken except where the party seeking disclosure

 can show a “compelling necessity” or a “particularized need.”                   Id.

 Our circuit has held that “[i]n determining whether disclosure of

 grand jury matters is appropriate in any given case, a court must

 exercise substantial discretion, weighing the need for secrecy

 against   the   need   for   disclosure       of   specified     documents      and

 testimony occurring before the grand jury.”               Matter of Grand Jury

 Proceedings, Miller Brewing Co., 687 F.2d 1079, 1088 (7th Cir.

 1982) (superseded on other grounds)(citing Douglas Oil Co., 441

 U.S. at 223-24).

       Here, Stewart argues he needs the grand jury transcript of

 victim B.G. because she “conceded at trial that her Grand Jury


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 testimony implicating Defendant Stewart, etc. in actions affecting

 interstate transportation in the crimes alleged was false.”                      (DE

 #441,   p.5.)      Stewart   attaches      four   pages     from   B.G.’s     trial

 testimony.      However, as the Government has indicated, B.G. never

 testified at trial that her grand jury testimony was false.

 Moreover, the trial testimony attached by Stewart shows that

 defense counsel elicited on cross examination of B.G. two facts -

 who drove the car to a particular prostitution call and whether

 Defendant Stewart was present.         At first, at trial, B.G. testified

 that Stewart was not present during that particular drive (which

 was different than her grand jury testimony), but B.G.’s memory was

 refreshed by defense counsel on cross examination and she testified

 that her grand jury testimony was accurate, and that Defendant

 Stewart was present at that prostitution call.               (DE #441, p. 12.)

 Her memory was also refreshed by Government counsel on re-direct as

 to when she had driven the car that day.                  (DE #452-1.)        Thus,

 Defendant’s claim that he needs the grand jury testimony of B.G. or

 other witnesses to “support, identify and expose Fraud resulting in

 manifest injustice as to convictions against him, unidentified or

 otherwise abandoned by his trial/appellate counsel” (DE #441, p. 6)

 is not supported by anything in the record.               Stewart has failed to

 demonstrate a particularized need for the grand jury testimony.

 See, e.g., United States v. Edelson, 581 F.2d 1290, 1291 (7th Cir.

 1978) (finding a defendant seeking the production of grand jury


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 transcripts must do more than make general unsubstantiated or

 speculative    allegations   of   impropriety        to   prevail    under     Rule

 6(e)(3)(c)(ii) (the former rule)).             Rather, Stewart seems to be

 fishing for anything helpful to his cause. “The secrecy of a grand

 jury proceeding is not to be pierced by such a slender reed: a mere

 possibility of benefit does not satisfy the required showing of

 particularized need.”      Matter of Jury Proceedings, Special Sept.,

 1986, 942 F.2d at 1199 (citations omitted); see also United States

 v. Lisinski, 728 F.2d 887, 893 (7th Cir. 1984) (unsupported

 speculation that insufficient evidence was presented to the grand

 jury to sustain the indictment failed to overcome presumption of

 secrecy).

       Additionally, Stewart’s conviction at trial moots any attack

 he now may be trying to make on the sufficiency of the evidence

 presented to the grand jury.           See United States v. Rosario, 234

 F.3d 347, 352 (7th Cir. 2000) (noting any such error in the

 presentation of evidence before the grand jury would be harmless

 given the jury conviction at trial which indicates a proper grand

 jury proceeding would have still yielded an indictment).                   Finally,

 Stewart has not shown that he exhausted all other means to access

 B.G.’s grand jury testimony.      The Government states it turned over

 to defense counsel at trial all Rule 16, Brady and Jencks Act

 discovery material, including a redacted copy of B.G.’s grand jury

 testimony (to keep the identify of each victim safe). (DE #452, p.


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 4.)    Additionally, it is evident from the trial testimony attached

 to Stewart’s motion that defense counsel did indeed have such grand

 jury testimony, as he referred to it at trial when cross-examining

 B.G.    (DE #441, p. 12.)

        Stewart     has   given   the   Court     no   reason    to    disturb     the

 protective order in this case that applies to all parties and

 counsel.     (See DE #26.)       Because this case involves sensitive and

 identifying information relating to the victims in this case, the

 Court will not unseal documents or information.



        CONCLUSION

        For   the   aforementioned      reasons,       the   Petition    to    Unseal

 Documents and Information Re: Warrant and Portions of Grand Jury

 Proceedings, filed by Defendant, Jovan Stewart, on February 11,

 2013 (DE #441), is DENIED.         Additionally, the motion for denial of

 extension of time (DE #451) is DENIED AS MOOT.




        DATED: April 9, 2013                   /s/ RUDY LOZANO, Judge
                                               United States District Court




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